Case 6:20-cv-00584-ADA   Document 245-3   Filed 02/27/25   Page 1 of 9




              EXHIBIT C
                                                                                               Case 6:20-cv-00584-ADA                                                                                                                                      Document 245-3      Filed 02/27/25     Page 2 of 9


                                                                                                                                                                                                                                                           Thursday,
                                                                                                                                                                                                                                                           Thursday, February
                                                                                                                                                                                                                                                                     February 27,
                                                                                                                                                                                                                                                                              27, 2025
                                                                                                                                                                                                                                                                                  2025 at
                                                                                                                                                                                                                                                                                       at 13:12:52
                                                                                                                                                                                                                                                                                          13:12:52 Paciﬁc
                                                                                                                                                                                                                                                                                                   Paciﬁc Standard
                                                                                                                                                                                                                                                                                                          Standard Time
                                                                                                                                                                                                                                                                                                                   Time

     Subject:
     Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order
     Date:
     Date:    Wednesday, February 26, 2025 at 2:41:51 PM Paciﬁc Standard Time
     From:
     From:    Lanier, Greg
     To:
     To:      Joseph Abraham, Garcia, Edwin O.
     CC:
     CC:      WSOU-Google, Potter Minton WSOU Team, Greg Love, Mark Siegmund, WSOU Google WDTX, brazos-trial-
              wdtx@foliolaw.com


      [EXTERNAL] This email originated from outside the organization. Do not click links or open attachments unless you recognize the
      sender and know the content is safe.



Joe, thank you for the quick response. The parties plainly disagree on the
substance and the prodered bases of WSOU’s position, so we will focus here
on the procedural points. Google has been planning for and will ask the Court
to keep the June 23 trial date for the remaining three cases. We will timely
oppose the motion for leave and otherwise move/respond as appropriate
going forward.

Greg

Tharan Gregory Lanier
Partner
JONES
JONES DAY®
         DAY® -- One
                 One Firm
                      Firm Worldwide℠
                           Worldwide℠
1755 Embarcadero Road
Palo Alto, CA 94303
650-739-3939 (main)
650-739-3941 (direct)



From:
From: Joseph Abraham <Joseph.abraham@foliolaw.com>
Sent:
Sent: Wednesday, February 26, 2025 1:44 PM
To:
To: Lanier, Greg <tglanier@jonesday.com>; Garcia, Edwin O. <edwingarcia@jonesday.com>
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>; Greg Love <glove@cjsjlaw.com>; Mark Siegmund
<msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-wdtx@foliolaw.com>; brazos-trial-
wdtx@foliolaw.com
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order
Greg: No saber-rattling was intended; we simply needed to ensure that we could promptly discharge our meet-and-confer obligations given Google’s position as to the June 23 trial date, and the related implications for the several preceding deadlines




Greg:

No saber-rattling was intended; we simply needed to ensure that we could promptly discharge our
meet-and-confer obligations given Google’s position as to the June 23 trial date, and the related
implications for the several preceding deadlines that depend thereon—concerning which the


                                                                                                                                                                                                                                                                                                                          1 of 8
        Case 6:20-cv-00584-ADA          Document 245-3          Filed 02/27/25   Page 3 of 9


current schedule has just enough wiggle room, but no excess.

To reiterate, regardless of the case schedule, Brazos intends to proceed based on the January 30
infringement positions to which Google has repeatedly objected. That could come via our January
30 proposed amended contentions, or simply via Dr. Cooperstock’s forthcoming report. Either way,
there can be no dispute that Google is on notice of Brazos’s infringement theory. The only
procedural distinction will be whether the Court grants leave in advance, or rules on Google’s
motion to strike after the fact. We of course acknowledge that Google reserves all rights to
oppose/strike.

With that as baseline, we believe the options are as follows:

   n. Hold
      Hold trial
           trial as
                 as scheduled
                    scheduled:: If Google insists on maintaining the June 23 trial date, time
      would be of the essence. Brazos would then ﬁle (presumably tomorrow) an opposed motion
      to enter the alternative draft proposed schedule attached to yesterday’s email, noting
      Google’s position concerning the same (i.e., “Google would agree to the amended schedule
      you proposed leading up to the June trial” on the condition that “WSOU agrees to proceed
      with expert reports and discovery based on its previous contentions and withdraws the
      amended contentions in dispute”). Under this scenario, we  we cannot
                                                                      cannot agree
                                                                               agree to
                                                                                      to adjourn
                                                                                         adjourn
      Google’s
       Google’s deadline
                  deadline toto oppose
                                oppose ourour motion
                                               motion for
                                                       for leave
                                                            leave to
                                                                   to amend
                                                                      amend, as we have the same
      interest as Google has—i.e., determining ASAP which version of Brazos’s infringement theory
      is in the case. (And again, it remains Brazos’s position that nothing in the proposed amended
      contentions modiﬁes our theory as disclosed May 31; it merely provides supporting detail
      based on conﬁdential discovery.) Google would be free to proceed based on that proposed
      schedule, or not—but it certainly seems to us that if Google unilaterally elects not to
      participate, the end result would be an adjournment of the trial date, regardless.

   s. Adjourn
      Adjourn trial
              trial TBD
                    TBD:: Alternately, Google could respond—and critically, provide a counter-
      proposal—to the proposed schedule that Mr. Meyer sent on February 20. We acknowledge—
      even if we do not accept as valid—Google’s position that Brazos’s February 20 proposal lacks
      “provision for new claim construction [and] adequate time for prior art searches based on
      the new contentions” that Google believes should be included. We believe the appropriate
      way to resolve that dispute would be via a joint, disputed motion to enter dueling schedule
      proposals—just as the parties did before in the companion cases. Google would be free to
      structure its schedule proposal however it deems most appropriate, relative to the co-
      pending brieﬁng on Brazos’s motion for leave to amend. Under this scenario, Brazos would be
      willing to grant Google a seven-day adjournment of your deadline to respond, in exchange for
      a further four-day adjournment of Brazos’s deadline to reply.

We expect the Court would be more likely to appreciate Scenario No. 2 (as well as being most
consistent with Google’s January 31 demand to “suspend[]” “all pending deadlines”). But we
obviously cannot force Google to participate.

As with many aspects of litigation, a call might well go a long way to narrowing the scope of this
dispute. We can be available most of the rest of today, and otherwise much of tomorrow. Please
advise if you wish to further discuss. Otherwise, we will proceed directly with our opposed motion
to amend the schedule.


                                                                                                      2 of 8
          Case 6:20-cv-00584-ADA                    Document 245-3               Filed 02/27/25           Page 4 of 9


Best,
Joe

From:
From: Lanier, Greg <tglanier@jonesday.com>
Sent:
Sent: Wednesday, February 26, 2025 1:35 PM
To:
To: Joseph Abraham <Joseph.abraham@foliolaw.com>; Garcia, Edwin O. <edwingarcia@jonesday.com>
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>; Greg Love <glove@cjsjlaw.com>; Mark Siegmund
<msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-wdtx@foliolaw.com>; brazos-trial-
wdtx@foliolaw.com
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order

[EXTERNAL] This email originated from outside the organization. Do not click links or open attachments unless you recognize the
sender and know the content is safe.



Joe, please allow me to join the conversation.

Google has made its position clear – the new contentions are improper
because they are a fundamental change in WSOU’s position requiring new
claim construction and were odered without permission of the Court, beyond
the deadlines, and too late to try this case in June without unfair prejudice to
Google. Your email only emphasizes both fundamental problems – neither
proposed schedule makes provision for new claim construction or adequate
time for prior art searches based on the new contentions, and in insisting that
it will serve an expert report based on amended contentions for which leave to
amend has not been granted, WSOU has further helped itself to relief from the
Court’s scheduling order and the OGP. Google will oppose the motion for
leave to amend and will move to strike any expert report based on the new
contentions.

The saber rattling about “meet and confer” is not well taken. That aside, if
WSOU agrees to proceed with expert reports and discovery based on its
previous contentions and withdraws the amended contentions in dispute,
Google would agree to the amended schedule you proposed leading up to the
June trial.

Finally, assuming the motion is treated as one re case management, our
opposition to WSOU’s motion for leave to amend is due this Friday, February
28. The Court’s consideration of the issues will obviously be impacted by the
extent of changes in WSOU’s previous positions, something that will likely be

                                                                                                                                  3 of 8
                                                                                             Case 6:20-cv-00584-ADA                                                                                                                                        Document 245-3   Filed 02/27/25   Page 5 of 9


demonstrated in the expert report you said would be served soon. So that the
Court may consider this issue with the full record and without the necessity of
Google ﬁling a supplemental opposition, we request a seven day extension of
time (to March 7) to serve Google’s opposition. Please let us know if WSOU
agrees.

Greg

Tharan Gregory Lanier
Partner
JONES
JONES DAY®
         DAY® -- One
                 One Firm
                      Firm Worldwide℠
                           Worldwide℠
1755 Embarcadero Road
Palo Alto, CA 94303
650-739-3939 (main)
650-739-3941 (direct)



From:
From: Joseph Abraham <Joseph.abraham@foliolaw.com>
Sent:
Sent: Tuesday, February 25, 2025 3:06 PM
To:
To: Garcia, Edwin O. <edwingarcia@jonesday.com>
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>; Greg Love <glove@cjsjlaw.com>; Mark Siegmund
<msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-wdtx@foliolaw.com>; brazos-trial-
wdtx@foliolaw.com
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order
Edwin: I’m going to pick up the correspondence thread. First, Brazos will tender an infringement report from Dr. Cooperstock consistent with the amended contentions we served January 30. We will not consent to Google’s demand that Brazos “withdraw”




Edwin:

I’m going to pick up the correspondence thread.

First, Brazos will
              will tender an infringement report from Dr. Cooperstock consistent with the amended
contentions we served January 30. We will not consent to Google’s demand that Brazos “withdraw”
our amended contentions—which demand is largely irrelevant, in any event: Brazos’s infringement
theories as detailed in both our proposed amended contentions and Dr. Cooperstock’s forthcoming
infringement report are fully consistent with the underlying theories disclosed in our May 31
infringement contentions, as updated to account for the particulars of conﬁdential discovery made
available by Google only in recent months.

Nonetheless, in light of Google’s apparent disagreement about Brazos’s contentions, Brazos was
(and remains) willing to go through the relatively orderly process of a motion for leave to amend—
which we thought the Court would appreciate more than the comparatively “under-the-gun”
process of a motion to strike Dr. Cooperstock’s forthcoming report. But that was premised on
Google’s willingness to engage in this process in good faith.

Google’s newly disclosed position—mentioned neither in Ms. Stitt’s January 31 email nor during the

                                                                                                                                                                                                                                                                                                           4 of 8
          Case 6:20-cv-00584-ADA                    Document 245-3               Filed 02/27/25           Page 6 of 9


parties’ February 3 meet-and-confer—that the trial date should remain as originally ordered forces
Brazos’s hand. We will tender our expert reports as soon as possible, and we will ﬁle an opposed
motion by the end of this week to modify the case schedule so as to complete expert discovery and
dispositive motions while preserving the current June 23 trial date. As made clear in prior
correspondence and reinforced in Brazos’s motion for leave ﬁled this past Friday, Brazos stands
willing to allow Google a reasonable amount of time to supplement invalidity contentions in
response—and to raise any other schedule-related concerns (e.g., supplemental claim
construction, the necessity of which Brazos of course disputes) with the Court. It will edectively be
Google’s choice whether it prefers to engage with Brazos’s infringement theories with additional
time added before trial, or over the less-than-four months that presently remain.

Google’s late-disclosed positional switch concerning the case schedule unfortunately ﬁnds Dr.
Cooperstock on an out-of-odice holiday through the remainder of this week. So from a practical
perspective, the earliest Brazos can tender reports is next week TBD; we will update as promptly as
possible. The interval between this email and next week does, however, leave the parties with one
last opportunity to identify a more productive course of action than a ﬂurry of motions that we
doubt the Court would appreciate.

To that end, we reattach the proposed adjourned schedule—including an adjourned trial date—that
Mr. Meyer sent to you last Friday. In the alternative, we also attach for your consideration a
proposed modiﬁed case schedule that preserves the June 23 trial date. If Google wishes to meet
and confer regarding either or both of these proposals, we can be generally available this week.
(Though to reiterate, Brazos will proceed based on the infringement theories detailed in our
amended contentions under either scheduling option.) If Google does not engage by close of
business Wednesday/tomorrow, we will take that as Google’s refusal to meet and confer consistent
with WDTX LR CV-7(G).

Regards,
Joe

From:
From: Garcia, Edwin O. <edwingarcia@jonesday.com>
Sent:
Sent: Monday, February 24, 2025 3:38 PM
To:
To: Ryan Meyer <ryan.meyer@foliolaw.com>; SbS, Tracy A. <tasbS@jonesday.com>; Mayergoyz, Sasha
<smayergoyz@jonesday.com>; Joseph Abraham <Joseph.abraham@foliolaw.com>; Greg Love
<glove@cjsjlaw.com>; Mark Siegmund <msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-
wdtx@foliolaw.com>; brazos-trial-wdtx@foliolaw.com
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order

[EXTERNAL] This email originated from outside the organization. Do not click links or open attachments unless you recognize the
sender and know the content is safe.


Ryan:

We disagree with your contention that Google’s position is inconsistent.



                                                                                                                                  5 of 8
                                                                                               Case 6:20-cv-00584-ADA                                                                                                                            Document 245-3   Filed 02/27/25   Page 7 of 9


As you’ll recall, WSOU served new infringement contentions just three days before expert reports
were due to be served. We objected, and the parties agreed to hold expert reports while that issue
was sorted.

As we have told you, we do not believe the new contentions are proper and they should be rejected
and this case should proceed based on WSOU’s previous “ﬁnal” infringement contentions. One of
the reasons the contentions should be rejected is because they will require new claim
construction, new invalidity contentions, new fact discovery and new expert reports, but there is
not sudicient time to get all that done properly before the scheduled trial date. That is why we have
not proposed a new pretrial schedule preserving the June date.

Google is ready to try the properly scoped cases on their current schedule, which is why it has
rejected WSOU’s edort to “self-help” a trial extension by belatedly serving improper new
contentions. Should, however, WSOU withdraw the latest “ﬁnal” contentions and proceed on the
last properly operative contentions, and do so quite soon, we would be happy to work with you on
an adjusted schedule leading up to the June trial.

We’ll plan to timely oppose WSOU’s motion unless WSOU will withdraw the latest “ﬁnal”
contentions.

Regards,
Edwin

Edwin O. Garcia
Associate
JONES
 JONES DAY®
         DAY® -- OneOne Fir
                          Firm
                             m Worldwide®
                                Worldwide®
51 Louisiana Avenue, N.W.
Washington, D.C. 20001
Office +1.202.879.3695
(Admitted in Texas; not admitted in District of Columbia; practice limited to cases in federal court and agencies)


From:
From: Ryan Meyer <ryan.meyer@foliolaw.com>
Sent:
Sent: Monday, February 24, 2025 12:45 PM
To:
To: Garcia, Edwin O. <edwingarcia@jonesday.com>; SbS, Tracy A. <tasbS@jonesday.com>; Mayergoyz,
Sasha <smayergoyz@jonesday.com>; Joseph Abraham <Joseph.abraham@foliolaw.com>; Greg Love
<glove@cjsjlaw.com>; Mark Siegmund <msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-
wdtx@foliolaw.com>; brazos-trial-wdtx@foliolaw.com
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order
Edwin, Google's position is internally inconsistent. On January 31, you unilaterally demanded "Google will treat all pending deadlines, including those for upcoming expert reports, as suspended. " Brazos agreed with Google to toll pending




Edwin,

Google's position is internally inconsistent.

On January 31, you unilaterally demanded "Google will treat all pending deadlines, including those
for upcoming expert reports, as suspended." Brazos agreed with Google to toll pending deadlines
for a period TBD during the parties' follow-up February 3 meet-and-confer.


                                                                                                                                                                                                                                                                                                 6 of 8
           Case 6:20-cv-00584-ADA                   Document 245-3               Filed 02/27/25           Page 8 of 9



But now you say that Google "will oppose a request to delay trial." Until Google is prepared to
suggest an alternative schedule that allows for completion of expert discovery and dispositive
motions between now and the existing June 23 trial date, we cannot interpret your email below as a
good faith attempt to engage.

As always, we remain available to meet and confer.

Best regards,
Ryan

From:
From: Garcia, Edwin O. <edwingarcia@jonesday.com>
Sent:
Sent: Thursday, February 20, 2025 5:05 PM
To:
To: Ryan Meyer <ryan.meyer@foliolaw.com>; SbS, Tracy A. <tasbS@jonesday.com>; Mayergoyz, Sasha
<smayergoyz@jonesday.com>; Joseph Abraham <Joseph.abraham@foliolaw.com>; Greg Love
<glove@cjsjlaw.com>; Mark Siegmund <msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-
wdtx@foliolaw.com>; brazos-trial-wdtx@foliolaw.com
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team
<wsougoogle@poSerminton.com>
Subject:
Subject: RE: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order

[EXTERNAL] This email originated from outside the organization. Do not click links or open attachments unless you recognize the
sender and know the content is safe.


Ryan:

Google does not agree that delay of the scheduled trial is appropriate in view of the latest improper and
belatedly served “ﬁnal” infringement contenbons from WSOU. Google will oppose WSOU’s mobon for
leave to amend on all appropriate bases, once we have seen it, and will oppose a request to delay trial.

Regards,
Edwin

Edwin O. Garcia
Associate
JONES
 JONES DAY®
         DAY® -- OneOne Fir
                          Firm
                             m Worldwide®
                                Worldwide®
51 Louisiana Avenue, N.W.
Washington, D.C. 20001
Office +1.202.879.3695
(Admitted in Texas; not admitted in District of Columbia; practice limited to cases in federal court and agencies)


From:
From: Ryan Meyer <ryan.meyer@foliolaw.com>
Sent:
Sent: Thursday, February 20, 2025 5:40 PM
To:
To: SbS, Tracy A. <tasbS@jonesday.com>; Mayergoyz, Sasha <smayergoyz@jonesday.com>; Garcia,
Edwin O. <edwingarcia@jonesday.com>; Joseph Abraham <Joseph.abraham@foliolaw.com>; Greg Love
<glove@cjsjlaw.com>; Mark Siegmund <msiegmund@cjsjlaw.com>; WSOU Google WDTX <wsou-google-
wdtx@foliolaw.com>; brazos-trial-wdtx@foliolaw.com
Cc:
Cc: WSOU-Google <WSOU-Google@jonesday.com>; PoSer Minton WSOU Team

                                                                                                                                  7 of 8
                                                                                              Case 6:20-cv-00584-ADA                                                                                                                                                Document 245-3   Filed 02/27/25   Page 9 of 9


<wsougoogle@poSerminton.com>
Subject:
Subject: WSOU v. Google | 6:20-CV-578 (WDTX) - Proposed Amended Scheduling Order
Counsel, Please see the attached draft proposed amended scheduling order and let us know if you agree with these dates or have a diderent proposal. Brazos intends to ﬁle its motion for leave to amend its infringement contentions tomorrow (2/21).




Counsel,

Please see the attached draft proposed amended scheduling order and let us know if you agree
with these dates or have a diderent proposal. Brazos intends to ﬁle its motion for leave to amend its
infringement contentions tomorrow (2/21).

Best regards,
Ryan




                           F|L|G                                                                                                                                                                                                                        Ryan B. Meyer
                                                                                                                                                                                                                                                        Partner
                                                                                                                                                                                                                                                        (206) 414-9932
            FOLIO LAW GROUP PLLC




NOTICE: This e-mail message and all attachments may contain legally privileged and
conﬁdential information intended solely for the use of the addressee. If you are not the
intended recipient, you are hereby notiﬁed that you may not read, copy, distribute or
otherwise use this message or its attachments. If you have received this message in error,
please notify the sender by email and delete all copies of the message immediately.


***This e-mail (including any attachments) may contain information that is private,
conﬁdential, or protected by attorney-client or other privilege. If you received this e-mail in
error, please delete it from your system without copying it and notify sender by reply e-mail,
so that our records can be corrected.***
***This e-mail (including any attachments) may contain information that is private,
conﬁdential, or protected by attorney-client or other privilege. If you received this e-mail in
error, please delete it from your system without copying it and notify sender by reply e-mail,
so that our records can be corrected.***
***This e-mail (including any attachments) may contain information that is private,
conﬁdential, or protected by attorney-client or other privilege. If you received this e-mail in
error, please delete it from your system without copying it and notify sender by reply e-mail,
so that our records can be corrected.***
***This e-mail (including any attachments) may contain information that is private, confidential,
or protected by attorney-client or other privilege. If you received this e-mail in error, please
delete it from your system without copying it and notify sender by reply e-mail, so that our
records can be corrected.***




                                                                                                                                                                                                                                                                                                                    8 of 8
